             Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 1 of 41



                               MORRISON MAHONEY LLP
                                        COUNSELLORS AT LAW


                                        250 SUMMER STREET
                                                                         MASSACHUSETTS   NEW HAMPSHIRE
                                       BOSTON, MA 02210-1181             BOSTON          MANCHESTER
                                             617-439-7500                FALL RIVER
                                                                         SPRINGFIELD     NEW JERSEY
                                                                         WORCESTER       PARSIPPANY
Joseph M. Desmond
Phone: 617-439-7554                                                      CONNECTICUT     NEW YORK
Fax: 617-342-4935                                                        BRIDGEPORT      NEW YORK
jdesmond@morrisonmahoney.com                                             HARTFORD
                                                                                         RHODE ISLAND
                                                                         ENGLAND         PROVIDENCE
                                                                         LONDON



                                                     August 15, 2022


VIA E-MAIL: Ryan@russmanLaw.com

Ryan L. Russman, Esq.
Russman Law
14 Center Street
Exeter, NH 03833

Re:     Barron Estates of Leo J. and Anna M. v. Benchmark Senior Living, LLC d/b/a
        Greystone Farm at Salem
        Rockingham Superior Court, Docket No.: 218-2022-cv-00512
        Our File No.: 10088041

Dear Attorney Russman:

       Enclosed please find a courtesy copy of Defendant, Benchmark Senior Living, LLC d/b/a
Greystone Farm at Salem’s Notice of Removal to the USDC of New Hampshire in connection
with the above-referenced matter.

        Should you have any comments or questions, please feel free to contact me.

                                                     Very truly yours,

                                                     Joseph M. Desmond
                                                     Joseph M. Desmond
JMD/mr
Enclosure




101358241
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 2 of 41



                                 UNITED STATES DISTRICT COURT
                                            FOR THE
                                  DISTRICT OF NEW HAMPSHIRE



  LINDA BARRON, INDIVIDUALLY AND AS
  EXECUTRIX OF THE ESTATE OF LEO BARRON
  AND THE ESTATE OF ANNA BARRON,

                    Plaintiff,
                                                                   Docket No. 22-318
  v.

  BENCHMARK SENIOR LIVING, LLC D/B/A
  GREYSTONE FARM AT SALEM,

                    Defendant.


                                    NOTICE OF REMOVAL

To:       Judges of the United States District Court
          for the District of New Hampshire

          Defendant Benchmark Senior Living LLC (Defendant) hereby files this Notice of Removal

pursuant to 28 U.S.C. §§ 1331, 1332, 1441, 1442 & 1446 to the United States District Court for the

District of New Hampshire. As grounds for this Notice of Removal, Defendant states as follows:

  I.      PROCEDURAL HISTORY

       1. On or about June 28, 2022, Plaintiff Linda Barron, individually and as Executrix of the Estate

of Leo Barron and the Estate of Anna Barron, filed a Civil Action Cover Sheet and Complaint and

Demand for Jury Trial against Defendant, Benchmark Senior Living LLC, in the Superior Court

Department of the Trial Court of the State of New Hampshire and for the county of Rockingham

numbered as Civil Action 218-2022-CV-00512. Exhibit A (summons); Exhibit B (Complaint).

       2. On or about July 14, 2022, Barron served a copy of the Complaint on the agent authorized to

accept service on behalf of Benchmark Senior Living LLC. Exhibit C (Return of Service).



                                                       1
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 3 of 41



    3. This Notice of Removal is timely filed, as Defendant filed same within thirty (30) days after

receipt of the initial pleading, on July 14, 2022, setting forth the claims for relief upon which such

action or proceeding is based as required by the provisions of 28 U.S.C. §1446(b). 28 U.S.C. §1446

(b); Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-48 (1999). By filing

this Notice of Removal, Defendant does not intend, in any way, to waive or relinquish its right to seek

to compel arbitration of Plaintiff’s claims asserted in the Complaint pursuant to a binding and

applicable arbitration agreement, and it reserves all rights with respect to the arbitration agreement

and its right to arbitrate this matter. Further, by filing this Notice, Defendant does not waive any

defenses, including, without limitation, lack of personal jurisdiction, improper venue or forum, all

defenses specific in FRCP Rule 12, or any other defense.

 II.    PLAINTIFF’S CLAIMS

    1. Plaintiff’s Complaint raises several allegations regarding Leo and Anna Barron’s contraction

of COVID-19 while residents at an assisted living facility in New Hampshire operated by the

Defendant and known as Greystone Farm at Salem and their subsequent death.

    2. Plaintiff alleges that in late February/early March 2020, the Center for Disease Control (CDC)

issued nationwide detailed infection prevention and control (IPC) protocols to healthcare providers

and long-term care facilities in response to the COVID-19 pandemic. See Exhibit B, ¶11. It is alleged

that the protocols required health care providers and workers to utilize personal protective equipment

(PPE), including gowns, gloves, face shields, facemasks, and/or respirators and other equipment

designed to prevent the spread of COVID-19. Id. It is also alleged that the protocols issued by the

CDC required that aerosol generating procedures be administered in the patient’s room and laid out

a specific pre- and post-treatment disinfecting procedure.




                                                  2
128642444v.1
101356871
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 4 of 41



    3. Plaintiff alleges that Defendant assured families of Greystone Farm at Salem that the

community, including its residential care associates, clinical staff, and subcontractors, were all

following the CDC IPC protocols. Id. at ¶12.

    4. Plaintiff further alleges that the staff at Greystone Farm at Salem negligently administered care

to Leo and Anna Barron, including by interacting with them without always utilizing the proper PPE.

Id. at ¶19. Additionally, it is alleged that Leo Barron’s nebulizer was not properly administered and

disinfected. Id.

    5. Plaintiff also alleges that the negligent actions of the staff at Greystone Farm at Salem were in

violation of the CDC IPC protocols as well as Defendant’s own internal COVID-19 countermeasure

policies. Id.

    6. In addition, Plaintiff alleges that Defendant should have known of the vital importance of

ensuring that COVID-19 did not spread within the assisted living facility and should have better

implemented countermeasures for screening staff and vendors upon entrance to the facility. Id. ¶21.

    7. Plaintiff alleges that, due to Defendant’s negligent administration and use of COVID-19

countermeasures and its decision making relating thereto, Leo and Anna Barron died.

III.    JURISDICTION EXISTS UNDER 28 U.S.C. § 1332 (DIVERSITY OF
        CITIZENSHIP)

    1. Jurisdiction exists over this removed action, pursuant to 28 U.S.C. §1441 because this action

could originally have been filed in the United States District Court, pursuant to 28 U.S.C.§

1332(a)(1), on the basis that there is complete diversity of citizenship between the Parties, Rollins

Green MHP, L.P. v. Comcast SCH Holdings, LLC, 374 F.3d 1020, 1022 (1st Cir. 2004), and the

amount in controversy exceeds $75,000, Amoche v. Guarantee Trust Life Ins. Co., 556 F.3d 41 (1st

Cir. 2009), see also, Mutual Real Estate Holdings, LLC v. Houston Cas. Co., 10-cv-236-LM, 2010

WL 3608043, (D.N.H, Sept. 13, 2010). As outlined below:

                                                   3
128642444v.1
101356871
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 5 of 41



               a. Defendant Benchmark Senior Living LLC is a limited liability company. The

                  two members of Benchmark Senior Living LLC are The Anne E. Grape 2000

                  Trust and The Thomas H. Grape 2016 Family Trust. The sole trustee of the

                  Anne E. Grape 2000 Trust is Anne Grape who is a citizen of Massachusetts.

                  The sole trustee of the Thomas H. Grape 2016 Family Trust is Thomas Grape

                  who is a citizen of Massachusetts. The citizenship of the Anne E. Grape 2000

                  Trust and the Thomas H. Grape 2016 Family Trust is determined by the

                  domicile of the trustees, pursuant to the jurisdictional analysis of Americold

                  Realty Trust v. Conagra Foods, Inc., 136 S. Ct. 1012 (2016).

               b. Based on the jurisdictional analysis of Defendant set forth in Carden v. Arkoma

                  Associates, 949 U.S. 185 (1990), and Americold Realty Trust v. Conagra

                  Foods, Inc., 136 S. Ct. 1012 (2016), the named Defendant is a citizen of

                  Massachusetts for purposes of this Court’s subject matter jurisdiction based on

                  diversity.

               c. Based on the Complaint, the Plaintiff, is an individual that resides in New

                  Hampshire. Exhibit B, ¶1.

               d. Based on the Complaint, the decedents, Leo and Anna Barron, were individuals

                  who resided in New Hampshire at the time of their deaths. Exhibit B, ¶1.

               e. In the Complaint, Plaintiff has alleged that as a result of negligent care

                  administered to Leo and Anna Barron by the staff in Defendant’s facility, they

                  contracted COVID-19 and died. It is alleged that both Leo and Anna Barron

                  suffered severe pain, anxiety, mental distress and death. Exhibit B, ¶¶ 19-22.

                  The Plaintiff seeks damages for economic loss to the estates, conscious pain

                  and suffering, medical bills, and funeral expenses. Id.
                                                     4
128642444v.1
101356871
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 6 of 41



               f. To meet the jurisdictional requirement set forth under 28 U.S.C. 1332(a), there

                  must exist a “reasonable probability” that the amount in controversy exceeds

                  $75,000. Amoche, Supra, at 480-49. see also Mutual Real Estate Holdings,

                  Supra, at 2. Given that Plaintiff has brought a wrongful death suit for the death

                  of both of her parents, and the allegation of damages for economic loss to the

                  estates, conscious pain and suffering, medical bills, and funeral expenses, it is

                  reasonable that the amount in controversy for total damages exceeds $75,000.

                  See, Exhibit B.

         2. Because complete diversity of citizenship exists between Plaintiff and Defendant, and as

the amount in controversy exceeds the sum of $75,000, removal is proper pursuant to 28 U.S.C.

§1446.

         3. The United States District Court for the District of New Hampshire is the proper forum for

removal pursuant to 28 U.S.C. §§101 and 1441(a), as the civil action is pending in Rockingham

County, New Hampshire.

         4. Defendant will promptly provide written notice of the removal of this action, pursuant to

28 U.S.C. § 1446(d), to Plaintiff and to the Clerk of the Superior Court Department of the Trial Court

of the State of New Hampshire in and for the County of Rockingham.

         5. Pursuant to Local Rule 81.1, Defendant will request of the Clerk of the Superior Court

Department of the Trial Court of the State of New Hampshire in and for the county of Rockingham

certified or attested copies of all docket entries therein and file same with this Court with fourteen

(14) days after filing the Notice of Removal.

         6. Complete diversity jurisdiction exists in this matter, and this case is therefore removable to

the District Court for the District of New Hampshire.



                                                     5
128642444v.1
101356871
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 7 of 41



IV.     JURISDICTION EXISTS UNDER 28 U.S.C. § 1331 (FEDERAL QUESTION)

    Although complete diversity is clear, and no further basis for removal is necessary, it is important

to illustrate that this case is also removable under 28 U.S.C. § 1331. The case is removable under 28

U.S.C. § 1441(a) on the basis of original jurisdiction because Plaintiff’s Complaint asserts a claim

“arising under” federal law within the meaning of 28 U.S.C. § 1331 by virtue of complete preemption

under the Public Readiness and Emergency Preparedness (“PREP”) Act.

               a. Plaintiff’s State Law Cause of Actions are Completely Preempted by the
                  PREP Act

        1. Complete preemption is an exception to the well-pleaded complaint rule. See Metro-Life

Ins. Co. v. Taylor, 481 U.S. 58, 64 (1987).

        2. Complete preemption occurs when the “pre-emptive force of a statute is so ‘extraordinary’

that it ‘converts an ordinary state common-law Complaint into one stating a federal claim for purposes

of the well-pleaded Complaint rule.” Caterpillar Inc. v. Williams, 482 U.S. 386, 393 (1987) (quotation

omitted); Metro-Life, 481 U.S. at 63-64 (complete preemption exists when the preemptive force of

federal law is so powerful that it displaces any state law cause of action and leaves room only for a

federal claim for purposes of the “well-pleaded complaint” rule). Complete preemption requires that

the Defendant show “Congress clearly intended to supersede state authority.” Id. at 65-66.

        3.“[C]omplete preemption is not a defense. It means that the claim itself arises under federal

law for purposes of the well-pleaded complaint.” Rueli v. Baystate Health, Inc., 835 F.3d 53 (1st Cir.

2016). “Once an area of state law has been completely preempted, any claim purportedly based on

that pre-empted state law is considered … a federal claim, and therefore arises under federal law.”

Caterpillar, supra, at 393. When a state law claim is recharacterized as a federal claim, through the

doctrine of complete preemption, the federal court has exclusive jurisdiction. Fayard v. Northeast

Vehicle Services, LLC, 533 F.3d 42, 45-46 (1st Cir. 2008).

                                                   6
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 8 of 41



        4. The PREP Act, enacted on December 30, 2005, is a unique statutory scheme that lies

dormant until it is invoked by the Secretary of the U.S. Department of Health and Human Services

(“HHS”) (the “Secretary”) at the time of a public health emergency. Congress enacted the PREP Act

to encourage and coordinate a thorough, rapid, and comprehensive response to declared public health

emergencies. 42 U.S.C.A. § 247d-6d(b). It grants broad immunity to covered persons, such as front-

line healthcare workers and other entities who deploy approved countermeasures, from suit and

liability for claims of loss related to the administration or use of covered countermeasures so that

they may combat the emergency without fear of later litigation.

        5. The PREP Act authorizes the Secretary to issue a Declaration, subject to amendment, that

a specified disease or condition is a public health emergency for a certain time-period. Once made,

the Declaration grants liability immunity to “covered persons” against any claim of loss caused by or

relating to the use of identified countermeasures.

        6. The Declaration under the PREP Act must specify the covered countermeasures identified

to respond to the declared public health emergency for which immunity is granted. Once the

Declaration is made, a covered person shall be immune from suit and liability under Federal and State

law with respect to all claims for loss caused by, arising out of, relating to, or resulting from the

administration to or the use by an individual of a covered countermeasure if a declaration under

subsection (b) has been issued with respect to such countermeasure. 42 U.S.C.A. § 247d-6d(a)(1)

(emphasis added).

        7. Under the Act, immunity applies “to any claim of loss that has a causal relationship with

the administration to or use by an individual of a covered countermeasure.” 42 U.S.C.A. § 247d-

6d(a)(2)(B).

        8. On March 10, 2020, the HHS Secretary issued the required Declaration invoking the PREP

Act for the COVID-19 pandemic, effective February 4, 2020, determining that “the spread of SARS-
                                                     7
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 9 of 41



CoV-2 or a virus mutating therefrom and the resulting disease COVID 19 constitutes a public health

emergency.”1 The Declaration delineated that the PREP Act’s immunity from suit and liability was

in effect for the distribution, administration, or use of one or more covered countermeasures and

recommended the administration and use of “Covered Countermeasures” to combat COVID-19.

         9. The COVID-19 Declaration has been amended ten times, each time broadening the scope

of the PREP Act as applied to the emergency response to this unique global pandemic with the last

several amendments issued under the Biden Administration and confirming the breadth of the Act

and its complete preemptive effect on state law claims.2

         10. The PREP Act also expressly preempts any claim filed in state court for negligence or

violation of state law that arises out of the administration or use of covered countermeasures through

the creation of an exclusive federal cause of action. The preemption language is unequivocal, to wit:

“no State or political subdivision of the State may establish, enforce, or continue in effect with respect

to a covered countermeasure any provision of law or legal requirements that — (A) is different from,

or is in conflict with, any requirement applicable under this section; and (B) relates to the ... use ...or

administration by qualified persons of the covered countermeasure....” 42 U.S.C.A. § 247d-6d(b)(8).




1
 Declaration Under the Public Readiness and Emergency Preparedness Act for Medical Countermeasures Against
COVID-19, 85 FR 15198-01 (March 10, 2020) (“Declaration” or “COVID-19 Declaration”).
2
  See, e.g., Amendment to Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
Countermeasures Against COVID-19, 85 FR 21012-02, at 21013-14 (April 15, 2020) [adding approved respiratory
devices to list of covered countermeasures, pursuant to CARES Act]; Second Amendment to Declaration Under the Public
Readiness and Emergency Preparedness Act for Medical Countermeasures Against COVID- 19, 85 FR 35100-01, at
35101-02 (June 8, 2020) [clarifying that covered countermeasures include countermeasures that “limit the harm COVID-
I9 ... might otherwise cause.”]; Third Amendment to Declaration Under the Public Readiness and Emergency
Preparedness Act for Medical Countermeasures Against COVID-19, 85 FR 52136-01 (Aug. 19, 2020) [declaring that
categories of disease representing a public health emergency include not only to COVID-19, but also “other diseases,
health conditions, or threats that may have been caused by COVID-19 ....”]; Fifth Amendment to the Declaration Under
the Public Readiness and Emergency Preparedness Act for Medical Countermeasures Against COVID-19, available at
https://www.phe.gov/Preparedness/legal/prepact/Pages/COVID-Amendment5.aspx (January 28, 2021 [adding additional
categories to the definition of “qualified persons,” including professionals qualified to administer the COVID-19 vaccine
under the laws of any state].

                                                           8
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 10 of 41



        11. The exclusive remedy for death or serious injury resulting from the administration or

use of a covered countermeasure is a fully-funded, no-fault-type compensation program designated

by Congress as the “Covered Countermeasure Process Fund” (the “Fund”). 42 U.S.C.A. § 247d-6e.

The Fund, similar to Workers’ Compensation or the National Vaccine Injury Compensation

Program, was established to provide timely, uniform, and adequate compensation to eligible

individuals for covered injuries in place of expensive and uncertain litigation. The “sole exception

to the immunity from suit and liability of covered persons” provided in the PREP Act is a federal

cause of action brought for death or serious physical injury resulting from willful misconduct, as

statutorily defined, which suit must be brought in the U.S. District Court for the District of

Columbia after exhaustion of remedies under the Fund. 42 U.S.C.A. § 247d-6d(d)(e). State causes

of action for claims relating to covered countermeasures are impermissible, as the PREP Act

substitutes an exclusive federal cause of action and federal claims process in place of all state claims

relating to the use and administration of covered countermeasures.

        12. Thus, the PREP Act creates an exclusive federal cause of action for the claims asserted

by plaintiff and the procedures and remedies governing the cause of action. Therefore, where a

cause of action falls within the scope of the PREP Act, the Act completely preempts that cause of

action and confers federal subject matter jurisdiction thereon. It does not matter whether the

complaint expressly raises a federal claim. Rather, the doctrine of complete preemption “converts

[plaintiffs’] ordinary state common law complaint into one stating a federal claim for purposes of

the well-pleaded complaint rule.” Metro. Life, 481 U.S. at 65.

        13. In the First and Second Advisory Opinions concerning the PREP Act Declaration with

respect to COVID-19, the HHS Office of General Counsel (“OGC”) confirms that the express

preemption language in the PREP Act “sweeps widely” and should be broadly interpreted. See

Advisory Opinion, p. 2; Advisory Opinion 20-02, p. 4. The Opinions also recognize that the PREP
                                                   9
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 11 of 41



Act is a complete preemption statute because the only viable cause of action under the Act lies in the

United States District Court after a claim is filed with the Fund; moreover, COVID-related claims,

such as Plaintiff’s, also raise substantial federal questions under the Supreme Court’s Grable doctrine.

Advisory Opinion 21-01.


        14. Significantly, the Fourth Amendment to the Declaration, issued on December 3, 2020,

directs that the PREP Act be construed in accordance with all the Advisory Opinions on the PREP

Act issued by HHS and fully incorporates those Opinions into the Declaration.3 This Amendment

also makes explicit that “administration” of covered countermeasures means not only the physical

provision of countermeasures to recipients, but also “activities and decisions directly relating to

public and private delivery, distribution and dispensing of the countermeasures to recipients,

management and operation of countermeasure programs, or management and operation of locations

for the purpose of distributing and dispensing countermeasures.” Id., sec. IX. The Amendment

further explicitly provides that claims regarding the failure to administer a covered countermeasure

may also implicate the PREP Act. Id.

        15. This Opinion also highlights the “relating to” language of the Act and explains that any

“black-and-white” view that the PREP Act only applies to use versus non-use is in direct

contravention of the plain language of the PREP Act, which extends immunity to anything “relating

to” the administration of a covered countermeasure. Id. at p. 3. The Opinion asserts that the

Secretary’s COVID-19 Declaration includes both action and inaction with respect to covered

countermeasures against COVID-19, and is critical of decisions that may limit application of the

PREP Act to allegations of “use.” Indeed, HHS explained there that any such “black and white” view


3
 Fourth Amendment to Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
Countermeasures Against COVID-19, 85 FR 79190 (Dec. 3, 2020) (“Fourth Amendment”).

                                                  10
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 12 of 41




clashes with the plain language of the PREP Act, which extends immunity to anything “relating to”

the administration of a covered countermeasure.” Id. at pp. 2-3. This Opinion also highlights the

importance of “program planners” in the emergency response to COVID-19, confirming that

“decision-making that leads to the non-use of covered countermeasures by certain individuals is the

gist of program planning, and is expressly covered by PREP Act.” Id. at p. 4. (emphasis added).

        16. The Advisory Opinions issued by the HHS OGC, which have been incorporated into the

Secretary’s Fourth Amendment to the Declaration for the purpose of its construction, illustrate the

expansive scope of the PREP Act and its protections for individuals and organizations that administer

or use covered countermeasures to combat COVID- 19.

        17. The Fifth Advisory Opinion, issued on January 8, 2021, is particularly significant because

it addresses exclusive federal jurisdiction in cases invoking the PREP Act and further confirms that

the PREP Act applies to suits concerning the non-use of covered countermeasures against COVID-

19. In this Opinion, HHS explains that the “PREP Act is a ‘Complete Preemption’ Statute,” stating:

        [t]he sine qua non of a statute that completely preempts is that it establishes either a
        federal cause of action, administrative or judicial, as the only viable claim or vests
        exclusive jurisdiction in a federal court. The PREP Act does both.

        Once complete preemption attaches, the district court is usually obligated to dismiss
        the case as pleaded, either because no federal cause of action is alleged or the exclusive
        initial venue is a federal administrative agency.4 (emphasis in original).


        18. The HHS Secretary’s Declaration is controlling and cannot be reviewed by express

directive of Congress. Indeed, the PREP Act provides that “[n]o court of the United States, or of any

State, shall have subject matter jurisdiction to review, whether by mandamus or otherwise, any action


4
  See Advisory Opinion 21-01 on the Public Readiness and Emergency Preparedness Act Scope of Preemption
Provision, p. 2, available at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/2101081078-
jo-advisory-opinion-prep-act-complete-preemption-01-08-2021-final-hhs-web.pdf (January 8, 2021) (“Advisory
Opinion 21-01”).

                                                       11
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 13 of 41



by the Secretary under this subsection.” 42 U.S.C. § 247d-6d(b)(7). It is clear that Congress intended

for the Secretary’s Declaration (and any amendments thereto) to have the force of law.

         20. In Rachal v. Natchitoches Nursing & Rehabilitation Center, LLC, the Court held that

the PREP Act is a complete preemption statute and that it “exclusively encompass[es] claims for

loss caused by, arising out of, relating to, or resulting from the administration to or the use by an

individual of a covered countermeasure.” Rachal v. Natchitoches Nursing & Rehabilitation Center,

LLC, No. 1:21-cv-334 at n. 3 (W.D. La. Apr. 30, 2021). Such holding is persuasive here.

               b. The Defendant is a covered person under the Act

         1. The PREP Act defines a “covered person” entitled to immunity to include a “program

planner” and a “qualified person” who administers or dispenses covered countermeasures. 42

U.S.C.A. § 247d-6d(i). Benchmark is a “program planner” and therefore a “covered person” under

the Act.

         2. Program planners are those who “supervised or administered a program with respect to the

administration, dispensing, distribution, provision, or use of a security countermeasure or a qualified

pandemic or epidemic product, including a person who has established requirements, provided policy

guidance, or supplied technical or scientific advice or assistance or provides a facility to administer

or use a covered countermeasure ....” Id. § 247d-6d(i)(6). Stated simply, “[a] program planner is

someone who is involved in providing or allocating covered countermeasures.” Advisory Opinion

21-01.

         3. Defendant supervised and administered COVID-19 infection control countermeasure

programs (ICP) required by CDC and New Hampshire law, provided a facility where covered

countermeasures were administered, was involved in providing or allocating covered

countermeasures, and implemented policies and procedures to effectuate the CDC’s IPC protocols

regarding such countermeasures. Additionally, Benchmark supervised and administered its own
                                                  12
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 14 of 41



COVID-19 infection control countermeasure policies and procedures to combat the spread of the

virus. As such, Benchmark is clearly a program planner under the Act. See 42 U.S.C. § 247d-6d(a)(1)

(providing that a program planner supervises or administers a program with respect to a “security

countermeasure or a qualified pandemic or epidemic product,” further described as a drug, biological

product, or device); Garcia v. Welltower OpCo Grp. LLC, 522 F. Supp. 3d 734 (C.D. Cal. 2021)

(finding senior living community was a “program planner” under PREP Act); Compl., at ¶ 12

(alleging Benchmark issued regular COVID-19 email bulletins to residents and family members,

acknowledged CDC’s protocols and assured residents and family members that its residential care

attendants, clinical staff and subcontractors were all following the CDC’s IPC protocols).

        4. Plaintiff’s claims arise out of the administration and use of multiple “covered

countermeasures” to combat COVID-19, which triggers complete preemption under the PREP Act.

               c. Plaintiff’s Claims Arise from Defendant’s Use and Administration of
                  Covered Countermeasures

        1. The PREP Act covers not only the physical administration and use of covered

countermeasures to combat COVID-19, but also extends to “any activity that is part of an authorized

emergency response [to COVID-19] at the federal region, regional, state, or local level.” 42 U.S.C.A.

§ 247d-6d(a)(2)(B); Advisory Opinion, p. 2. This includes decisions related to the use and

administration of covered countermeasures, including PPE, to prevent community-based transmission

of COVID-19 to others, as well as decision making concerning the operation and management of a

countermeasure program and facility. Advisory Opinion 20-04. Indeed, the COVID-19 Declaration

“broadly extends PREP Act immunity” to include both action and inaction with respect to efforts to

prevent community-based transmission of COVID-19, and the Fifth Advisory Opinion confirms that

the plain language of the PREP Act extends immunity “to anything ‘relating to’ the administration of

a covered countermeasure.”” See Advisory Opinion 20-03, p. 2; Advisory Opinion 21-01, p. 3.

                                                 13
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 15 of 41



        2. As noted herein, among the covered countermeasures included in the PREP Act are: “a

qualified pandemic or epidemic product;” “a security countermeasure;” a drug; and a biologic

product, all as defined by federal law, and therapeutics and devices that have been authorized for

emergency use in accordance with the Federal Food, Drug, and Cosmetic Act. Additionally, unique

to the response to COVID-19, respiratory protective devices were added to the list of covered

countermeasures by CARES Act. See 42 U.S.C.A. § 247d-6d. Indeed, under the PREP Act and the

Secretary’s initial Declaration, “covered countermeasures” included any qualified pandemic or

epidemic product; and any drug, biologic, product or device. A “qualified pandemic or epidemic

product” is defined as a drug, biologic product or device, which is a product manufactured, used,

designed, developed, modified, licensed, or procured to diagnose, mitigate, prevent, treat, or cure a

pandemic or epidemic; or to limit the harm such pandemic or epidemic might otherwise cause. The

Declaration also included as a covered countermeasure “any antiviral, any other drug, any biologic,

any diagnostic, any other device, or any vaccine, used to treat, diagnose, cure, prevent, or mitigate

COVID-19, or the transmission of SARS-CoV-2 or a virus mutating therefrom, or any device used in

the administration of any such product, and all components and constituent materials of any such

product." See 85 Fed. Reg. at 15, 199-15, 12005.

        3. Benchmark’s care of Plaintiff’s decedents implicated decisions regarding the use of PPE,

screening and testing for COVID-19, and other countermeasures designed to limit the infection and

spread of COVID-19, pursuant to its adoption of the CDC’s IPC protocols. Stated differently,

Benchmark and its employees engaged in affirmative acts to seek to prevent the spread of COVID-




        5
          On June 4, 2020, the Secretary further amended the March 10, 2020 Declaration to clarify that covered
countermeasures under the Declaration include qualified products to limit the harm COVID-19 might otherwise cause.
This amendment was effective as of February 2, 2020. 85 FR 21012.

                                                       14
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 16 of 41



19 in its facility with covered countermeasures under the PREP Act as well as decision making

relating to how and when those countermeasures were allocated and used at the facility.

        4. While Plaintiff claims that Benchmark was negligent in its use of these countermeasures,

Benchmark’s decision-making relating to the use, administration, and management of covered

countermeasures in caring for Plaintiff’s decedents and other residents at its facility to prevent

transmission of COVID-19 trigger the protections afforded under the PREP Act. See Advisory

Opinion 21-01.

        5. Plaintiff’s alleged injuries and death from COVID-19 arise out of, relate to, and result from

the manner in which Defendant administered and used covered countermeasures. See 42 U.S.C. §

247d-6d(a)(1).

        6. The Complaint details infection control measures and procedures at the facility including

utilization of PPE, including facemasks and respirators, disinfecting and treatment procedures

designed to limit the spread of COVID-19, as well as program planning including, inter alia, staff

screening that implicates countermeasures such as thermometers and social distancing. Compl., at ¶¶

11, 21. The Complaint references Benchmark’s adoption of the CDC’s IPC policies, including those

concerning the use of PPE (including facemasks and respirators), id. at ¶ 12, but alleges Benchmark

negligently failed to follow these policies consistently, including by way of improper use and

sometimes non-use of PPE, id. at ¶ 19; and Plaintiff otherwise criticizes Defendant for the manner in

which it screened persons in the facility for COVID-19 which is done by way of thermometer

countermeasures. See id. at ¶ 21.

        7. These allegations of use and misuse of PPE and the infection control measures directly

relate to covered countermeasures within the meaning of the PREP Act. See Advisory Opinion 21-01

(“Program planning inherently involves the allocation of resources and when those resources are

scarce, some individuals are going to be denied access to them. Therefore, decision-making that leads
                                                  15
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 17 of 41



to the non-use of covered countermeasures by certain individuals is the gist of program planning, and

is expressly covered by PREP Act.); Garcia, 522 F. Supp. 3d at 744 (finding allegations of use and

misuse of PPE and the infection control measures directly relate to covered countermeasures within

the meaning of the PREP Act); Wilhelms v. Promedica Health System, Case No. G-4801-CI-

202003713 (Cook, J.) (March 23, 2022) (PREP Act “applies to any claim for loss that has a causal

relationship with the administration to or use by an individual of a covered countermeasure.”)

               d. There is a Causal Relationship Between the Administration or Use of
                  Covered Countermeasures and the Claims of Loss

        1. Under the Act, immunity applies “to any claim of loss that has a causal relationship with

the administration to or use by an individual of a covered countermeasure.” 42 U.S.C.A. § 247d-

6d(a)(2)(B). “Claims of loss” under the Act are broad and include any type of loss, including death;

physical mental, or emotional injury, illness, and disability; fear of physical, mental, or emotional

injury, illness, disability, or condition, including any need for medical monitoring; and loss of or

damage to property. 42 U.S.C.A. § 247d-6d(a)(2)(A).

         2. The Declaration defines the “administration” of covered countermeasures to include the:

“physical provision of the countermeasures to recipients, or activities and decisions directly relating

to public and private delivery, distribution, and dispensing of the countermeasures to recipients....”

Id., sec. IX. Administration also includes activities related to “management and operation” of

countermeasure programs or facilities.”

         The Declaration states:

        [c]laims for which Covered Persons are provided immunity under the Act are losses
        caused by, arising out of, relating to, or resulting from the administration to or use
        by an individual of a Covered Countermeasure consistent with the terms of a
        Declaration issued under the Act. Under the definition, these liability claims are
        precluded if they allege an injury caused by a countermeasure, or if the claims are
        due to manufacture, delivery, distribution, dispensing, or management and
        operation of countermeasure programs at distribution and dispensing sites.

                                                  16
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 18 of 41



         3. Plaintiff’s allegations of misuse of PPE and its other COVID-19 infection control

countermeasures implicate the PREP Act. See Advisory Opinion 21-01 (“Program planning

inherently involves the allocation of resources and when those resources are scarce, some individuals

are going to be denied access to them. Therefore, decision-making that leads to the non-use of covered

countermeasures by certain individuals is the gist of program planning, and is expressly covered by

PREP Act.).

         4. Plaintiff’s complaint arises from and relates to Defendant’s conduct as program planners

and their decision making with respect to administration of COVID-19 covered countermeasures,

which fall directly within the scope of the PREP Act.

        5. Plaintiff alleges that Defendant improperly implemented the CDC IPC protocols and its

own internal policies relating to countermeasure use and administration thereby causing the death of

Leo and Anna Barron. Plaintiff’s claim of loss is thus clearly related to Defendant’s administration

and use of covered countermeasures and has the requisite causal relationship under the PREP Act.

 V.     JURISDICTION EXISTS UNDER 28 US.C. § 1442 (FEDERAL OFFICER)

        1. This Court also has jurisdiction under the federal officer removal statute, 28 U.S.C. §

1442(a)(1), which allows claims asserted against someone who is under color of federal authority, to

be removed to federal court. Here, the government’s efforts to control the COVID-19 pandemic

involved specific directives to assisted living facilities which were critical in helping to carry out the

federal effort to treat and prevent the spread of COVID-19.

        2. Federal officer removal is warranted because Defendant’s response to the pandemic, and

the care provided to its residents during the state of emergency, was at the specific direction and

oversight of the federal government, including HHS and the Center for Disease Control and

Prevention.



                                                   17
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 19 of 41



         3. A civil action that is commenced in the state court and that is directed at the United States

or any agency thereof or any officer of the United States, or any person acting under that officer, for

or relating to any act under color of such office, may be removed to the District Court of the United

States. 28 U.S.C. § 1442(a)(1).

         4. The statute creates the ability to remove suits against federal officers despite the nonfederal

cast of the complaint; the federal-question element is met if the defense depends on federal law. See

Jefferson Cnty., Ala. v. Acker, 527 U.S. 423, 431 (1999).

         5. Removal is appropriate when the moving defendant establishes (1) that it was “acting under

a federal officer’s authority”; (2) that the charged conduct was carried out for or relating to the

asserted official authority; and 3) that it will assert a colorable federal defense to the suit. Moore v.

Electric Boat Corporation, 25 F.4th 30, 34 (1st Cir 2022).

         6. Defendant is part of the United States’ “critical infrastructure.” It acted on behalf of the

federal government and carried out government duties to stop the spread of Covid-19. Defendant’s

designation as “critical infrastructure” is sufficient for federal officer jurisdiction when it was, inter

alia, closely monitored by federal agencies. Fields v. Brown, 2021 WL 510620, *3 (E.D. Tex. Feb.

11, 2021) (finding federal officer jurisdiction in case where meatpacking plan was deemed “critical

infrastructure” and interacted heavily with USDA and FSIS to guarantee adequate food supply during

pandemic). The Healthcare and Public Health Sector is a critical infrastructure, which creates a shared

responsibility between itself and the owners and operators (Defendant) to promote the Nation’s safety,

prosperity and well-being.6




6
  See Presidential Policy Directive – Critical Infrastructure Security and Resilience, The White House (Feb 12, 2013),
available at https://obamawhitehouse.archives.gov/the-press-office/2013/02/12/presidential-policy-directive-critical-
infrastructure-security-and-resil.
                                                          18
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 20 of 41



        7. Here, Defendant meets all the requirements for federal officer jurisdiction under section

1442(a)(1). Defendant is a “person,” which includes “corporations, companies, associations, firms,

partnerships, societies, and joint stock companies, as well as individuals.” 1 U.S.C. §1.

        8. As part of the “critical infrastructure,” Defendant was “acting under” authority of a federal

officer when it engaged in the alleged tortious conduct. The United States Supreme Court has held

that the phrase “acting under” involves “an effort to assist, or help carry out, the duties or tasks for

the federal superior.” Watson v. Philp Morris Cos., 551 U.S. 142, 152 (2007); See also, Rhode Island

v. Shell Oil Products Co., LLC, 979 F.3d 50, 59 (1st Cir. 2020) (“[A]cting under connotes “subjection,

guidance, or control” and involves “an effort to assist, or help to carry out, the duties of the federal

supervisor”).summarily vacated on other grounds. The “acting under” requirement is broad and is to

be liberally construed. Watson, Supra, at 147; see also, Moore, Supra, at 34.

        9. Defendant meets the “acting under” prong for removal based on the federal officer removal

statute. Here, Plaintiff asserts that Defendant failed to properly comply with IPC protocols issued by

the CDC to mitigate the spread of the COVID-19 virus. Plaintiff alleges that in late February/early

March 2020, the CDC issued nationwide, detailed, infection prevention and control (IPC) protocols

to healthcare providers and long-term care facility in response to the COVID-19 pandemic. See

Exhibit B, ¶11. It is alleged that the protocols required health care providers and workers to utilize

PPE, including gowns, gloves, face shields, facemasks, and/or respirators and other equipment

designed to prevent the spread of COVID-19. Id. It is also alleged that the protocols issued by the

CDC required that aerosol generating procedures be administered in the patient’s room and that a

specific pre- and post-treatment disinfecting procedure be followed.

        10. Plaintiff admits that Defendant issued regular COVID-19 email bulletins to residents and

family members, acknowledged CDC’s protocols and assured residents and family members that its



                                                  19
128642444v.1
101356871
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 21 of 41



residential care attendants, clinical staff and subcontractors were all following the CDC’s IPC

protocols. Compl., at ¶ 12.

        11. As recognized by HHS Secretary Azar in his Fourth Amendment Declaration: “COVID-

19 is an unprecedented global challenge that requires a whole-of-nation response that utilizes federal-

, state-, and local-distribution channels as well as private-distribution channels [for the provision of

covered countermeasures].” 85 Fed. Reg. at 79, 194.

        12. Below are some of the directives issued by the CDC, as referenced in Plaintiff’s

Complaint, which provided authority from the federal government to long-term care providers,

including Defendant, regarding its care and treatment of residents, including Plaintiff’s decedents, in

an effort to stop the spread of COVID-19.

               a. As early as February 1, 2020 the CDC began issuing directives and guidance

                  to state and local health departments regarding the COVID-19 virus and how

                  to screen patients for exposure and symptoms. The CDC acknowledged that

                  the goal of the ongoing “US public health response is to identify and contain

                  this outbreak and prevent sustained spread” of COVID-197.

               b. At that time, the New Hampshire Department of Health and Human Services

                  (NHDHHS) began issuing Health Alerts to provide guidance and instruction

                  to citizens, health care providers, and long term care facilities regarding the

                  spread of COVID-19. On February 1, 2020, the NHDHHS stressed that the US

                  DHHS was escalating the national response to COVID-19.8 The health alerts



7
  Centers for Disease Control and Prevention, Update to Interim Guidance on Outbreak of 2019 Novel Coronavirus
(February 1, 2020) (available at https://emergency.cdc.gov/han/HAN00427.asp).
8
 N.H. Department of Health and Human Services, 2019 Novel Coronavirus (2019-nCOV) Update #3 (February 1, 2020),
https://www.COVID19.nh.gov/sites/g/files/ehbemt481/files/documents/2022-04/novel-coronavirus-update3.pdf.

                                                      20
128642444v.1
101356871
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 22 of 41



                  routinely referenced federal regulations of the CDC and World Health

                  Organization in order to provide guidance to health care providers in their care

                  and treatment of COVID-19.

               c. On February 28, 2020, the CDC issued another update to the interim guidance,

                  including guidelines on testing. The CDC indicated that the CDC, state and

                  local health departments, other federal agencies, and other partners were

                  implementing measures to slow and contain transmission of COVID-19 in the

                  United States. These measures include assessing, monitoring, and caring for

                  travelers arriving from areas with substantial COVID-19 transmission and

                  identifying cases and contacts of cases in the United States.9

               d. On March 2, 2020, the NHDHHS issued a health alert indicating that the CDC

                  website had been updated with specific instruction for long term care providers

                  and asked that long term care providers review same.10

               e. The CDC continued to issue directive and guidance regarding infection

                  prevention in nursing homes, and other long term care facilities, including

                  assisted living facilities, including guidance on PPE, testing, visitation,

                  vaccinations, screening, and isolation.11

               f. On March 10, 2020, the HHS Secretary issued the required Declaration

                  invoking the PREP Act for the COVID-19 pandemic, effective February 4,




9
   Centers for Disease Control and Prevention, Update to Interim Guidance on Outbreak of 2019 Novel Coronavirus
(February 28, 2020) (available at https://emergency.cdc.gov/han/HAN00428.asp).
10
   N.H. Department of Health and Human Services, 2019 Novel Coronavirus (2019-nCOV) Update #5 (March 2, 2020),
https://www.COVID19.nh.gov/sites/g/files/ehbemt481/files/documents/2022-04/COVID-19-update5.pdf.
11
  Centers for Disease Control and Prevention, Guidance to Nursing Homes and Long-Term Care Facilities (available at
https://cdc.gov/coronavirus/2019-ncov/hcp/nursing-home-long-term-care.html).

                                                        21
128642444v.1
101356871
                Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 23 of 41



                  2020, determining that “the spread of SARS-CoV-2 or a virus mutating

                  therefrom and the resulting disease COVID-19 constitutes a public health

                  emergency.”12 The Declaration delineated that the PREP Act’s liability

                  immunity was in effect for the distribution, administration, or use of one or

                  more covered countermeasures and recommended the administration and use

                  of “Covered Countermeasures” to combat COVID-19.

               g. On March 13, the Governor of New Hampshire declared a State of Emergency

                  due to COVID-19. N.H. Exec. Order No. 2020-04 (March 13,

                  2020),https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/

                  2020-04.pdf.

               h. On March 18, the NHDHHS issued a health alert with instructions for testing,

                  including testing criteria, symptoms, and isolation.13

               i. On April 14, 2020 the NHDHHS issued a health alert with further instructions

                  to long term care facilities regarding testing for COVID-19. The alert also

                  provided instructions on the use of PPE and masks.14

        13. At all relevant times, Defendant was acting as part of the critical infrastructure, and “acting

under” federal officer authority, at the specific instruction and oversight of the federal government.

Defendant’s actions were taken in an “effort to assist, or to help carry out, the duties or tasks” dictated

by the federal government in order to help prevent the spread of COVID-19. The Covid-19 pandemic

was a nation-wide threat that could not be contained by the federal government without assistance


12
   Declaration Under the Public Readiness and Emergency Preparedness Act for Medical Countermeasures Against
COVID-19, 85 FR 15198-01 (March 10, 2020) (“Declaration” or “COVID-19 Declaration”).
13
   N.H. Department of Health and Human Services, 2019 Novel Coronavirus (2019-nCOV) Update #9 (March 18, 2020),
https://www.COVID19.nh.gov/sites/g/files/ehbemt481/files/documents/2022-04/COVID-19-update9.pdf.
14
  N.H. Department of Health and Human Services, 2019 Novel Coronavirus (2019-nCOV) Update #12 (April 14, 2020),
https://www.COVID19.nh.gov/sites/g/files/ehbemt481/files/documents/2022-04/COVID-19-update12.pdf.
                                                      22
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 24 of 41



from the private sector operators of critical infrastructure. Defendant shared in the responsibility of

the Healthcare and Public Health Sector to stop the spread of Covid-19. Specifically, Defendant

carried out guidance of federal agencies by following directives regarding infection control, PPE,

testing, screening of residents and staff, and other COVID-19 related preventions.

        14. Defendant’s actions were carried out for or relating to the asserted official authority

provided to them as part of the Nation’s critical infrastructure. The First Circuit’s nexus standard is

not a “causal” requirement and is not to be understood as anything more than a “related to” nexus.

Moore, Supra, at 35.

        15. Here, the Plaintiff asserts that the Defendant was negligent in its care and treatment of Leo

and Anna Barron related to IPC protocols and internal policies created to address the COVID-19

pandemic. The Plaintiff’s wrongful death claims arise from the actions of the employees at Defendant

facility in the early days of the COVID-19 pandemic. Defendant’s preparation for and response to the

COVID-19 pandemic were directly related to the orders and directives issued by the federal

government to it. There is a clear nexus between the claims against Defendant and the actions taken

by Defendant and the action of the federal government with respect to the response to the pandemic

at the facility and administration of covered countermeasures to the decedents.

        16. Lastly, Defendant intends to assert colorable federal defenses. For purposes of removal,

the defense must be “colorable” and need not to be “clearly sustainable” as the purpose of the removal

statute is to secure the validity of the defense that may be tried in federal court. Willingham v. Morgan,

395 U.S. 402, 407 (1969). A defense is colorable “unless it is immaterial and made solely for the

purpose of obtaining jurisdiction” or “wholly insubstantial and frivolous. Moore, supra, quoting

Zerinque v. Crane Co., 846 F.3d 785,790 (5th Cir. 2017). For this prong, the “burden is low” and the

requirement has “generally not been proven an obstacle in similar litigation. Id. at 36.



                                                   23
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 25 of 41



        17. As a colorable federal defense, the Defendant asserts an immunity and express “ordinary”

defensive preemption, as well as failure to exhaust administrative remedies, under the PREP Act as

set forth in 42 U.S.C. 247d-6d(a)(1). As set forth herein, Congress enacted the PREP Act to encourage

and coordinate a thorough, rapid, and comprehensive response to declared public health emergencies.

42 U.S.C.A. § 247d-6d(b). It grants broad immunity to covered persons, such as front-line healthcare

workers and other entities who deploy approved countermeasures, from suit and liability for claims

of loss related to the administration or use of covered countermeasures so that they may combat the

emergency without fear of later litigation and further expressly preempts those claims, requiring that

claims be filed with the Fund. See, Defendant’s Notice of Removal pp. 6-12. Thus, the claims in the

Plaintiff’s Complaint invoke federal officer removal jurisdiction.

VI.     PLAINTIFF’S COMPLAINT PRESENTS A SUBSTANTIAL, EMBEDDED
        QUESTION OF FEDERAL LAW

        1. Federal question also exists because there is a substantial, embedded question of federal

law. See Grable & Sons Metal Prods. v. Darue Eng’g & Mfg., 545 U.S. 308 (2005). In Grable, the

Supreme Court set forth a two-step process for determining whether a state law claim “arises” under

federal law. First, the state law claim must necessarily raise a stated federal issue, actually disputed

and substantial. Second, Federal courts must be able to entertain the state law claims “without

disturbing and congressionally approved balance of state and federal judicial responsibility.” Id.

        2. The first prong of the Grable test is met in this case, as Plaintiff has alleged that Leo and

Anna Barron died as the result of ineffective use and administration of covered countermeasures. By

their nature, these allegations invoke a substantial federal question as to whether the sweeping

immunity of the PREP Act applies to Defendant’s actions.

        3. Plaintiff’s challenge to Defendant’s use and administration of PPE and compliance with

CDC protocols and internal policies relating to other countermeasures, as well as their program

                                                  24
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 26 of 41



planning, raises a question of federal law. This case will necessarily focus on how covered

countermeasures were administered and used in the care of Leo and Anna Barron under the PREP

Act. Such analysis involves a substantial federal question.

        4. The second prong is also met because this Court would not “disturb any congressionally

approved balance of federal and state responsibilities” by taking jurisdiction in this matter. The PREP

Act expresses a clear intention to preempt state control of the issues raised in the Plaintiff’s

Complaint: “no State or political subdivision of the State may establish, enforce, or continue in effect

with respect to a covered countermeasure any provision of law or legal requirements that — (A) is

different from, or s in conflict with, any requirement applicable under this section; and (B) relates to

the ... use ...or administration by qualified persons of the covered countermeasure....” 42 U.S.C.A. §

247d-6d(b)(8).” Thus, this Court would not be disturbing on any balance of state and federal interest

when it is clear that Congress intended for the federal court to have jurisdiction over this case.


VII.    CONCLUSION

    For the foregoing reasons, jurisdiction exists over this removed matter.

                                                  Respectfully submitted,
                                                  Defendant, Benchmark Senior Living LLC d/b/a
                                                  Greystone Farm at Salem,

                                                  MORRISON MAHONEY LLP

                                            By /s/ Joseph M. Desmond
                                               Joseph M. Desmond, N.H. Bar # 16636
                                               jdesmond@morrisonmahoney.com
                                               250 Summer Street
                                               Boston, MA 02210
                                               Phone: 617-439-7554
                                               Fax:     617-342-4935




                                                   25
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 27 of 41




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he caused a true and correct copy of the foregoing to
be electronically filed with the Clerk of the United States District Court for the District of New
Hampshire by filing through the CM/ECF system, which served a copy of the foregoing upon all
counsel of record on August 15, 2022:




                                                            /s/ Joseph M. Desmond
                                                            Joseph M. Desmond




                                                 26
128642444v.1
101356871
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 28 of 41



                                        EXHIBIT A




                                            27
128642444v.1
101356871
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 29 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 30 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 31 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 32 of 41
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 33 of 41



                                        EXHIBIT B




                                            28
128642444v.1
101356871
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 34 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 35 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 36 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 37 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 38 of 41
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 39 of 41
               Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 40 of 41



                                        EXHIBIT C




                                            29
128642444v.1
101356871
Case 1:22-cv-00318 Document 1-1 Filed 08/15/22 Page 41 of 41
